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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7 UNITED STATES OF AMERICA,                            )
                                                        )
 8                        Plaintiff,                    )      Case No. 2:14-cr-00321-KJD-NJK
                                                        )
 9 vs.                                                  )
                                                        )      ORDER SETTING HEARING
10 KEITH WILLIAMS,                                      )
                                                        )
11                        Defendant.                    )      (Docket No. 114)
                                                        )
12
13          Pending before the Court is Defendant’s counsel’s motion to withdraw as attorney. Docket No.
14 114. The Court hereby sets the motion for hearing on November 12, 2015, at 1:00 p.m. in courtroom
15 3C. Defendant and his counsel are required to be present in the courtroom at the hearing.
16          IT IS SO ORDERED.
17          DATED: November 6, 2015.
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19                                              NANCY J. KOPPE
                                                United States Magistrate Judge
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